Case 18-69497-bem         Doc 55   Filed 07/20/22 Entered 07/20/22 14:06:37          Desc Main
                                   Document     Page 1 of 4



                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                       :         CHAPTER 7
                                             :
SANDRA BROOKS,                               :         CASE NO. 18-69497-BEM
                                             :
         Debtor.                             :
                                             :

                                 CERTIFICATE OF SERVICE

     I, S. Gregory Hays, Chapter 7 Trustee, certify that I am over the age of 18 and that on this
date, I served a copy of the foregoing NOTICE OF TRUSTEE’S FINAL REPORT AND
APPLICATIONS FOR COMPENSATION AND DEADLINE TO OBJECT (NFR) [Docket
# 53] by first class U.S. Mail, with adequate postage prepaid, on the persons or entities at the
addresses stated on the attached Exhibit “A”.

     I, S. Gregory Hays, Chapter 7 Trustee, certify that I am over the age of 18 and that on this
date, I served a copy of the foregoing NOTICE OF TRUSTEE’S FINAL REPORT AND
APPLICATIONS FOR COMPENSATION, DEADLINE TO OBJECT AND HEARING
[Docket # 54] by first class U.S. Mail, with adequate postage prepaid, on the persons or entities
at the addresses stated on the attached Exhibit “A”.

         This 20th day of July, 2022.

                                                        /s/ S. Gregory Hays
                                                       S. Gregory Hays
                                                       Chapter 7 Trustee

Hays Financial Consulting, LLC
2964 Peachtree Rd, N.W
Suite 555
Atlanta, Georgia 30305
(404) 926-0060
Case 18-69497-bem   Doc 55   Filed 07/20/22 Entered 07/20/22 14:06:37   Desc Main
                             Document     Page 2 of 4




                                  Exhibit “A”
               Case 18-69497-bem         Doc 55   Filed 07/20/22           Entered 07/20/22 14:06:37      Desc Main
Label Matrix for local noticing              American Express
                                                  Document          Page 3 of 4             American Express National Bank
113E-1                                       PO Box 981537                                  c/o Becket and Lee LLP
Case 18-69497-bem                            El Paso, TX 79998-1537                         PO Box 3001
Northern District of Georgia                                                                Malvern PA 19355-0701
Atlanta
Wed Jul 20 14:01:11 EDT 2022
American Express/Delta Sky Miles             Arnall Golden Gregory LLP                      Michael J. Bargar
PO Box 981537                                Arnall Golden Gregory LLP                      Arnall Golden Gregory, LLP
El Paso, TX 79998-1537                       171 17th Street NW, Suite 2100                 Suite 2100
                                             Atlanta, GA 30363-1031                         171 17th Street, N.W.
                                                                                            Atlanta, GA 30363-1031

Peter B. Bricks                              Sandra Brooks                                  Capital One Bank (USA), N.A.
Peter Bricks, P.C.                           500 Thrasher Street, #4115                     by American InfoSource as agent
Suite 206                                    Norcross, GA 30071-2498                        4515 N Santa Fe Ave
333 Sandy Springs Circle, N.E.                                                              Oklahoma City OK 73118-7901
Atlanta, GA 30328-3834

Capital One Bank USA NA/Spark Business       Capital One/Saks Mastercard                    (p)CARMAX AUTO FINANCE
10700 Capitol One Way                        PO Box 30253                                   225 CHASTAIN MEADOWS CT
Glen Allen, VA 23060-9243                    Salt Lake City, UT 84130-0253                  KENNESAW GA 30144-5897



Chase Card/INK VIsa                          Chase Card/SWA Visa                            Chase/LOC
PO Box 15298                                 PO Box 15298                                   PO Box 15298
Wilmington, DE 19850-5298                    Wilmington, DE 19850-5298                      Wilmington, DE 19850-5298



ChexSystems                                  Citicards CBNA/Diamond Mastercard              (p)PNC BANK RETAIL LENDING
Attn: Consumer Relations                     PO Box 6241                                    P O BOX 94982
7805 Hudson Rd Ste 100                       Sioux Falls, SD 57117-6241                     CLEVELAND OH 44101-4982
Saint Paul, MN 55125-1703


Discover Bank                                (p)DISCOVER FINANCIAL SERVICES LLC             Equifax Credit Information Services, Inc
Discover Products Inc                        PO BOX 3025                                    PO Box 740241
PO Box 3025                                  NEW ALBANY OH 43054-3025                       Atlanta, GA 30374-0241
New Albany, OH 43054-3025


Experian                                     (p)GEORGIA DEPARTMENT OF REVENUE               S. Gregory Hays
701 Experian Pkwy                            COMPLIANCE DIVISION                            Hays Financial Consulting, LLC
Allen, TX 75013-3715                         ARCS BANKRUPTCY                                Suite 555
                                             1800 CENTURY BLVD NE SUITE 9100                2964 Peachtree Road
                                             ATLANTA GA 30345-3202                          Atlanta, GA 30305-4909

Hays Financial Consulting, LLC               Internal Revenue Service                       NCO Financial
S. Gregory Hays                              PO Box 7346                                    507 Prudential Rd
2964 Peachtree Road NW                       Philadelphia, PA 19101-7346                    Horsham, PA 19044-2308
Suite 555
Atlanta, Ga 30305-4909

National Arbitration Forum                   Office of the United States Trustee            (p)TELECHECK SERVICES INC
PO Box 50191                                 362 Richard Russell Building                   P O BOX 6806
Minneapolis, MN 55405-0191                   75 Ted Turner Drive, SW                        HAGERSTOWN MD 21741-6806
                                             Atlanta, GA 30303-3315
               Case 18-69497-bem             Doc 55       Filed 07/20/22          Entered 07/20/22 14:06:37             Desc Main
TransUnion Consumer Solutions                        UnitedDocument
                                                            States Attorney Page 4 of 4
PO Box 2000                                          Northern District of Georgia
Chester, PA 19016-2000                               75 Ted Turner Drive SW, Suite 600
                                                     Atlanta GA 30303-3309




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


CarMax Auto Finance                                  (d)CarMax Auto Finance                               Compass Bank
225 Chastain Meadows Ct.                             225 Chastain Meadows Ct NW                           PO Box 11830
Kennesaw, GA 30144                                   Kennesaw, GA 30144-5897                              Birmingham, AL 35202-1830



Discover Financial Services LLC                      Georgia Department Of Revenue                        TeleCheck Services, Inc.
PO Box 15316                                         PO Box 161108                                        5251 Westheimer Rd
Wilmington, DE 19850-5316                            Atlanta, GA 30321-1108                               Houston, TX 77056-5412



End of Label Matrix
Mailable recipients    31
Bypassed recipients     0
Total                  31
